Case 2:03-cr-20211-SH|\/| Document 78 Filed 06/13/05 Page 1 of 2 Page|D 113

Fn.:~;'s w wh/ 0.0.

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE GSJHM]B PH 5;36
WESTERN DIVISION

aos§m' a si mouo
c:,s'-'i:<,‘\_,ls. mar cr
wo o:~ ",z~¢, ws,e;»ms

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 03-20211-Ma

VS.

JERRY THOMPSON,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period fron1 May 31, 2005 through, July 15, 2005 is
excludable under 18 U.S.C. § 3l61(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

. IB
IT Is so oRDERED this K day of June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket hasty compliance
With Ru|e 55 ami!or 32(5) FFICFP on (; “Z 2125 ______ 7§

   

UNITED TATES DISTRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 78 in
case 2:03-CR-202]1 Was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

